          Case 2:10-cv-06708-TON Document 10 Filed 06/14/11 Page 1 of 1


                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                               :          CIVIL ACTION
STACY NAZAR
                                               :
     v.
                                               :
                                                          No. 10-6708
NCO FINANCIAL SYSTEMS, INC.                    :




                     CANCELLATION OF ARBITRATION HEARING

              Please take note that the above-captioned civil action case currently sheduled for

ARBITRATION at 9:30 am on Wednesday, June 15, 2011, has been CANCELLED.

                                                          Michael E. Kunz
                                                          Clerk of Court



                                                          By: /s/Janet Vecchione
                                                          Janet Vecchione
                                                          Deputy Clerk
                                                          Phone:267-299-7074

Date:June 14, 2011

Copies:       Courtroom Deputy to Judge Thomas N. O'Neill, Jr.
              Docket Clerk - Case File

              Counsel




ARBCAN.FRM
